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                   Exhibit
                     2
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                                                        U.S. Department of Justice

                                                        Criminal Division



Fraud Section

                                                       March 31, 2023

Via Email


         Re:    United States v. Constantinescu et al, No. 4:22-CR-00612

Dear Counsel:

        Consistent with our earlier representations, please find enclosed to this letter in Attachment
A the stock tickers and date ranges that are relevant to, among other things, the Defendants’ profit,
as alleged in paragraph 1 of the Superseding Indictment.

        The specific profit calculation as to each stock ticker and date range will be further disclosed
as part of the United States’ expert disclosure on June 5, 2023, as the parties previously agreed and
presented to the Court. Nonetheless, to assist your trial preparation, we anticipate that the
underlying profit calculation for each stock ticker and date range involves (1) identifying at least
one false or misleading statement by a defendant on Twitter, Atlas Trading Discord or both, similar
to the false or misleading statements alleged in paragraphs 1 & 13 of the Superseding Indictment
and further specified in paragraphs 21 – 115 as to specific stocks; and (2) aggregating each
defendant’s profit or loss for that stock ticker during the enumerated date range. The June 5, 2023
expert disclosure will also detail the false and misleading statements relevant to this calculation.

       The conduct underlying the stock tickers and date ranges in Attachment A provides direct
evidence of, and is intrinsic to, the charged offenses. In this way, it is intrinsically intertwined with
the charged conduct. To the extent you believe that this conduct is extrinsic evidence, we are
providing you with advanced notice of our position that the conduct relevant to these stock tickers
and date ranges is properly admissible under Rule 404(b) to prove motive, opportunity, intent, plan,
knowledge, absence of mistake or lack of accident. We will provide you with formal notice under
Rule 404(b) as to this information in our June 5, 2023 disclosure.
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        To assist your review of Attachment A, the following information represents a legend for
the columns in the spreadsheet:

   •   Column A, Event ID: a unique identifier for the transactions listed in the other columns;

   •   Column B, Symbol: the at-issue stock ticker;

   •   Column C, Event Start: the start date of the date range in which (a) at least one defendant
       made a false or misleading statement about the stock ticker in Column B; and (b) for which
       at least one defendant also traded in the stock and closed a position;

   •   Column D, Event End: the end of the date range in which (a) at least one defendant made
       a false or misleading statement about the stock ticker in Column B; and (b) for which at
       least one defendant also traded in the stock and closed a position;

   •   Columns E – L: if a defendant closed a position in the stock ticker in Column B during the
       date range in Columns C and D, that defendant is referenced as “1”; if a defendant did not
       close a position in the stock ticker in Column B during the date range in Columns C and D,
       the defendant is referenced as a “0”.

       We are voluntarily providing this information well in advance of the June 5, 2023 expert
disclosure to assist your preparation for the October 23, 2023 trial. We reserve the right to edit or
otherwise supplement the information in Attachment A prior to the June 5, 2023 disclosure.

       Please let us know if you have any questions about this disclosure.

                                                     Sincerely
                                                     /s/ Scott Armstrong
                                                     Scott Armstrong, Assistant Chief
                                                     John J. Liolos, Trial Attorney




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                                Attachment A (Mar. 31, 2023 Ltr), United States v. Constantinescu , et al. 22-cr-612 (S.D. Tex.)
Event ID Symbol   Event Start Event End  Constantin      Cooperman            Deel          Hennessey            Hrvatin         Knight     Matlock       Rybarczyk
        1 ABVC     8/10/2021 8/11/2021               0                 0              1                    0                0           0             0               1
        2 ABVC      9/1/2021    9/1/2021             0                 1              1                    0                0           0             1               0
        3 ABVC    10/14/2021 10/14/2021              0                 0              0                    0                0           0             0               1
        4 ABVC     11/1/2021 11/1/2021               0                 1              1                    0                0           0             1               1
        5 ACST      6/3/2020    6/5/2020             1                 0              1                    1                0           0             1               0
        6 ACST      9/8/2020    9/8/2020             0                 0              0                    0                1           0             0               0
        7 ACST    11/30/2020 11/30/2020              0                 0              1                    0                0           0             0               0
        8 ACST    12/23/2020 1/12/2021               1                 1              1                    0                0           1             1               1
        9 ACST     5/19/2021 5/20/2021               1                 1              1                    0                0           0             0               0
      10 ACST       6/4/2021    6/7/2021             0                 0              0                    0                1           0             1               0
      11 ACST      6/16/2021 7/16/2021               0                 0              0                    0                0           0             1               1
      12 ACST       8/3/2021    8/4/2021             0                 1              1                    0                0           1             1               0
      13 ADMP       9/8/2020 9/10/2020               0                 0              1                    0                0           0             0               1
      14 ADMP      10/7/2020 10/19/2020              0                 1              1                    1                1           1             1               0
      15 ADMP     12/23/2020 12/23/2020              0                 0              0                    0                0           0             1               0
      16 ADMP      1/20/2021 1/28/2021               1                 0              1                    0                0           0             0               0
      17 ADMP      4/28/2021 5/11/2021               0                 1              1                    1                0           1             1               1
      18 AEI       2/16/2021 2/17/2021               0                 0              0                    0                0           0             0               1
      19 AEI       3/22/2021 3/30/2021               0                 1              1                    1                1           1             1               1
      20 AEI       6/21/2021 6/21/2021               0                 1              1                    0                1           0             0               0
      21 AEI        9/2/2021 9/20/2021               0                 0              0                    0                1           1             0               0
      22 AEI        3/7/2022 3/11/2022               0                 0              0                    0                1           0             0               1
      23 AEMD      9/22/2021 9/22/2021               0                 1              1                    0                0           0             0               1
      24 AERC      3/17/2022 3/17/2022               0                 1              1                    0                0           0             0               0
      25 AGRI      7/29/2021    8/2/2021             0                 0              0                    0                0           0             0               1
      26 AGRI     10/27/2021 10/27/2021              1                 1              1                    1                0           0             1               1
      27 AHI       12/1/2021 12/20/2021              0                 1              0                    0                1           1             0               1
      28 AHPI      6/17/2020 6/22/2020               0                 0              0                    0                1           0             1               0
      29 AHPI      7/13/2021    8/4/2021             0                 1              1                    0                0           1             1               1
      30 AHPI      8/10/2021 8/12/2021               0                 1              1                    0                0           1             1               0
      31 AHPI      9/15/2021 9/16/2021               0                 0              0                    0                0           0             0               1
      32 AHPI     11/26/2021 11/26/2021              0                 1              1                    0                0           0             1               1
      33 AHT       7/28/2020 7/28/2020               0                 0              0                    0                0           0             0               1
      34 AHT       11/9/2020 11/13/2020              0                 0              1                    0                0           0             0               0
      35 AIHS      9/22/2021 9/24/2021               0                 1              1                    0                0           0             0               1
      36 ALF        5/4/2021 5/13/2021               1                 1              1                    1                1           1             1               1
      37 ALF       6/15/2021 6/16/2021               0                 1              1                    0                0           1             1               0
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38 ALF     6/22/2021 6/22/2021      0           1         1           0          0       0    1   0
39 ALNA    1/26/2021 1/26/2021      0           0         1           0          0       0    1   1
40 ALZN    6/15/2021 6/30/2021      0           1         1           1          1       1    1   1
41 ALZN     7/7/2021 7/23/2021      1           1         1           1          0       1    1   1
42 ALZN   12/13/2021 12/14/2021     0           1         1           0          0       0    0   0
43 ALZN     1/4/2022   1/4/2022     0           0         0           0          0       0    1   0
44 AMCI   11/27/2020 1/22/2021      1           1         1           1          1       1    1   1
45 AMPG   10/25/2021 10/29/2021     0           0         0           0          0       0    0   1
46 AMPG     3/9/2022 3/31/2022      0           0         0           0          1       0    0   0
47 APRE    7/21/2021 7/21/2021      0           1         1           0          0       0    1   1
48 AREC    2/21/2020 2/21/2020      1           0         0           0          0       0    0   0
49 AREC    7/24/2020 7/24/2020      0           0         1           0          0       0    1   1
50 AREC    10/7/2020 10/30/2020     1           0         1           0          1       1    1   1
51 AREC   11/24/2020 11/24/2020     1           0         1           0          0       0    0   1
52 AREC     2/2/2021   2/9/2021     0           1         1           1          0       1    1   1
53 AREC    2/26/2021 3/18/2021      1           1         1           1          0       1    1   0
54 AVGR    7/20/2020 7/30/2020      0           0         0           0          0       0    1   1
55 AVGR     8/4/2020 8/20/2020      1           0         1           1          0       0    1   1
56 AVGR    8/24/2020 8/31/2020      1           0         1           0          0       0    1   0
57 AVGR   11/10/2020 11/10/2020     0           0         0           0          1       0    0   0
58 AVGR   12/24/2020 12/24/2020     0           0         1           0          0       0    0   0
59 AVGR    1/11/2021 1/11/2021      0           0         1           0          0       0    0   0
60 BAOS    4/22/2022 4/27/2022      1           1         0           0          0       1    0   1
61 BBI     4/13/2022 4/22/2022      1           1         1           1          0       0    1   1
62 BBIG    1/21/2021 1/21/2021      0           1         1           0          0       0    0   0
63 BBIG    2/23/2021 2/23/2021      0           1         1           0          0       0    1   1
64 BBIG    3/22/2021 3/30/2021      1           1         1           0          0       1    1   1
65 BBIG    4/21/2021 4/23/2021      1           1         1           0          0       0    1   1
66 BBIG    5/19/2021 7/16/2021      1           1         1           1          1       1    1   1
67 BBIG    2/10/2022 2/10/2022      0           1         1           0          0       0    0   0
68 BBLG    1/10/2022 1/10/2022      0           1         1           0          0       0    1   0
69 BCTX     6/2/2021   6/2/2021     0           1         1           0          0       0    1   0
70 BCTX    7/13/2021   8/4/2021     0           1         1           1          0       1    1   1
71 BCTX    12/1/2021 12/1/2021      0           1         1           0          0       0    1   0
72 BFRI   10/29/2021 11/24/2021     1           1         1           0          0       1    1   1
73 BFRI    3/16/2022 3/22/2022      0           1         0           0          0       0    0   1
74 BFRI    6/24/2022 6/24/2022      0           1         0           0          0       0    0   0
75 BHTG     7/9/2020   7/9/2020     1           0         1           0          0       0    0   1
76 BHTG     8/3/2020   8/4/2020     0           0         0           0          0       0    1   1
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 77 BHTG    9/30/2020 9/30/2020      0           0         0           0          0       0    1   0
 78 BHTG    1/13/2021 1/14/2021      0           1         0           0          0       1    1   1
 79 BHTG     2/3/2021 2/11/2021      0           1         1           0          0       1    1   1
 80 BHTG    7/28/2021 8/10/2021      0           0         0           0          0       0    0   1
 81 BRPM   10/26/2021 10/26/2021     0           1         1           0          0       0    1   1
 82 BRQS    8/24/2020 8/24/2020      0           1         1           0          0       0    1   0
 83 BRQS   11/12/2020 11/19/2020     0           0         1           0          0       0    1   1
 84 BRQS     1/8/2021 1/13/2021      1           1         1           0          0       0    1   1
 85 BRQS    2/11/2021 2/16/2021      0           0         1           1          0       1    0   0
 86 BRQS    3/22/2021 3/24/2021      0           0         0           0          0       0    1   1
 87 BRQS     6/4/2021 6/15/2021      0           1         0           0          0       0    1   0
 88 BRQS    6/30/2021 6/30/2021      0           1         1           1          0       0    1   0
 89 CATB    12/2/2020 12/2/2020      0           1         1           0          0       0    0   0
 90 CATB    1/29/2021 1/29/2021      1           1         1           0          0       1    0   1
 91 CBAT    9/14/2020 9/15/2020      0           0         1           0          0       0    1   1
 92 CBAT    10/5/2020 10/5/2020      0           0         1           0          0       0    1   0
 93 CBAT   11/10/2020 11/19/2020     0           0         1           0          1       0    1   0
 94 CBAT   12/21/2020 12/28/2020     0           0         0           0          0       0    1   0
 95 CBAT     1/6/2021 2/19/2021      1           1         1           1          1       1    1   1
 96 CEI     9/29/2020 10/30/2020     1           0         1           1          1       0    1   1
 97 CEI    11/12/2020 11/18/2020     0           0         0           0          0       0    0   1
 98 CEI      8/4/2021 11/30/2021     1           1         1           1          1       1    1   1
 99 CHEK    6/30/2020 6/30/2020      0           0         1           0          0       0    1   0
100 CHEK     9/4/2020   9/4/2020     0           0         0           0          0       0    1   1
101 CHEK   12/31/2020   1/4/2021     1           0         1           0          0       0    0   0
102 CHEK    3/15/2021 3/15/2021      1           1         1           1          0       1    0   0
103 CNTX   10/20/2021 12/21/2021     1           1         1           1          1       1    1   1
104 COMS    2/11/2021 2/23/2021      0           1         1           1          0       1    1   1
105 COMS   10/25/2021 10/25/2021     0           1         0           0          0       0    1   0
106 COMS    3/22/2022 3/28/2022      0           1         1           0          0       0    1   0
107 COMS     7/8/2022   8/2/2022     1           1         0           0          0       0    1   0
108 CSCW   12/24/2020 12/30/2020     1           0         1           0          0       0    1   1
109 CSCW    3/24/2021 3/24/2021      0           1         1           0          0       0    1   0
110 CSCW    3/31/2021 3/31/2021      0           1         1           1          0       1    0   0
111 CSCW    4/27/2021 4/27/2021      0           1         1           0          0       0    1   0
112 CSCW    2/17/2022 2/17/2022      0           1         1           0          0       0    0   0
113 CVM      8/6/2021   8/6/2021     0           0         0           0          0       0    1   0
114 CXDC   10/26/2021 10/27/2021     0           0         0           0          1       0    1   1
115 CYN    10/21/2021 10/22/2021     0           1         1           1          0       0    1   0
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116 DATS    8/15/2021 10/25/2021     1           1         1           1          1       1    1   1
117 DBGI    5/17/2021 5/26/2021      1           0         1           0          0       0    1   1
118 DBGI    6/10/2021   7/8/2021     0           1         1           1          0       1    1   1
119 DBGI    7/13/2021 8/12/2021      0           0         0           0          0       0    0   1
120 DBGI   10/28/2021 10/28/2021     1           1         1           1          0       0    1   0
121 DLPN     6/3/2020 6/19/2020      1           0         1           0          0       0    1   0
122 DLPN   10/16/2020 10/19/2020     0           0         1           1          0       0    1   0
123 DLPN    1/12/2021 1/12/2021      1           0         0           0          0       0    1   1
124 DLPN    2/11/2021 2/12/2021      0           1         0           0          0       0    0   1
125 DLPN    4/23/2021 4/29/2021      0           1         1           0          0       1    1   0
126 DLPN    8/26/2021 8/26/2021      0           1         1           0          0       0    1   1
127 DLPN   10/27/2021 10/27/2021     0           1         0           0          0       0    0   0
128 EARS     4/8/2021   4/8/2021     0           1         1           0          0       1    1   1
129 EARS     6/3/2021   6/3/2021     0           1         1           0          0       0    1   1
130 EXPR    1/22/2021 1/27/2021      1           1         1           0          0       0    1   0
131 EXPR     3/8/2021 3/10/2021      0           1         1           0          1       0    1   0
132 EXPR    5/26/2021   6/8/2021     0           1         1           1          1       1    1   0
133 EZFL    9/15/2021 10/11/2021     1           1         1           0          1       0    1   1
134 FCEL   11/13/2020 12/29/2020     0           1         1           0          1       1    1   0
135 FCEL    10/4/2021 10/20/2021     1           1         1           1          1       1    0   1
136 FGF    12/30/2020 12/31/2020     1           0         0           0          1       0    1   0
137 GIPR   10/13/2021 10/13/2021     0           1         1           0          0       1    1   0
138 GMVD   10/28/2021 10/29/2021     0           1         1           1          0       0    0   0
139 GNUS     3/4/2021 3/30/2021      1           1         1           1          0       1    1   1
140 GRTX   10/27/2021 10/28/2021     0           1         1           1          0       1    0   1
141 GRVI     7/6/2021   7/6/2021     0           1         0           0          0       0    1   1
142 GRVI   10/19/2021 10/19/2021     0           1         1           1          0       0    0   0
143 GTEC   10/19/2020 10/20/2020     1           0         0           0          0       0    1   1
144 GTEC    12/7/2020 12/7/2020      1           0         1           0          0       0    1   0
145 GTT     2/24/2021 2/25/2021      0           1         0           0          0       1    0   1
146 GTT      3/1/2021   3/3/2021     0           1         1           0          1       1    1   1
147 GTT     3/16/2021 3/17/2021      0           0         0           0          0       0    0   1
148 HCDI    8/31/2020 8/31/2020      0           0         0           0          0       0    1   0
149 HCDI   12/18/2020 12/21/2020     0           0         0           0          0       0    1   1
150 HCDI    5/10/2021 5/12/2021      1           1         1           0          0       1    1   0
151 HCDI    11/4/2021 11/4/2021      1           1         1           1          1       0    1   1
152 HCWB   10/18/2021 10/19/2021     0           1         1           1          0       0    0   1
153 HJLI    8/21/2020 8/21/2020      1           1         1           0          0       0    1   1
154 HJLI     4/5/2021   4/5/2021     0           1         1           1          0       0    1   0
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155 HJLI     8/3/2021   8/3/2021     0           1         1           0          0       0    1   0
156 HOFV     1/8/2021 1/12/2021      0           0         1           0          0       0    1   1
157 HOFV     2/3/2021   2/5/2021     0           1         1           0          0       0    1   1
158 HOFV    3/17/2021 3/29/2021      1           1         1           1          0       1    1   1
159 HOFV    4/15/2021 4/19/2021      0           0         0           0          0       0    1   1
160 IPDN     8/5/2020   8/5/2020     1           0         1           0          0       0    1   1
161 IPDN    10/7/2020 10/8/2020      1           0         1           0          0       0    1   0
162 IPDN   10/15/2020 10/15/2020     0           0         0           0          0       0    1   0
163 IPDN    12/1/2020 12/1/2020      0           0         0           0          0       0    1   0
164 IPDN   12/30/2020 12/30/2020     0           0         1           0          0       0    1   0
165 IPDN     1/8/2021   1/8/2021     1           0         0           0          0       0    0   0
166 IPDN    3/17/2021 3/18/2021      0           1         1           1          0       0    1   1
167 IPDN    3/29/2021 3/31/2021      0           0         0           0          0       0    1   0
168 ISIG   10/26/2020 10/27/2020     1           0         1           0          0       0    1   1
169 ISIG     4/7/2021   4/7/2021     0           1         1           1          0       1    0   0
170 ISIG    12/6/2021 12/6/2021      0           1         1           0          0       0    1   1
171 JAGX     4/1/2020   4/1/2020     0           0         0           0          0       0    1   0
172 JAGX    7/22/2020 7/29/2020      0           0         1           0          0       0    1   0
173 JAGX    10/6/2020 10/8/2020      1           0         1           0          0       0    1   1
174 JAGX   12/22/2020 12/24/2020     0           0         1           0          0       0    1   1
175 JAGX     1/4/2021   1/4/2021     0           0         1           0          0       0    0   0
176 JAGX    1/13/2021 1/13/2021      0           0         0           0          0       0    1   0
177 JAGX    5/24/2021 6/10/2021      1           1         1           1          1       1    1   0
178 JAGX   12/21/2021 12/21/2021     0           0         0           0          0       0    0   1
179 JAN     1/16/2020 1/23/2020      1           0         0           0          0       0    0   0
180 JAN      2/5/2021   2/5/2021     0           0         1           0          0       0    1   0
181 JAN     5/13/2021 5/26/2021      1           0         0           0          0       1    1   1
182 KALV     2/9/2021   2/9/2021     1           0         0           0          0       0    1   0
183 KAVL   10/13/2021 10/20/2021     1           1         1           0          0       1    0   1
184 KAVL    2/15/2022 2/15/2022      0           0         1           0          0       0    1   0
185 KAVL    3/15/2022 3/15/2022      0           0         1           0          0       0    0   0
186 KERN    11/5/2020 12/4/2020      1           1         1           0          1       1    1   1
187 KERN     1/6/2021 2/12/2021      1           1         1           1          0       1    1   1
188 KERN     3/1/2021 3/11/2021      1           1         1           0          0       1    1   0
189 KERN    5/18/2021 5/18/2021      0           0         0           0          0       0    1   0
190 KERN    9/13/2021 9/14/2021      0           1         1           0          0       0    1   1
191 KERN    3/24/2022 3/24/2022      0           1         0           0          0       0    0   0
192 KIQ    10/20/2021 11/18/2021     0           0         0           0          1       0    0   1
193 KTTA   11/23/2021 11/23/2021     0           1         1           0          0       0    1   1
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194 KXIN      7/8/2020   7/8/2020     1           0         1           0          0       0    0   1
195 KXIN    10/16/2020 10/27/2020     0           0         1           0          0       0    1   0
196 KXIN     2/10/2021 2/11/2021      1           1         0           1          0       1    1   1
197 KXIN     3/16/2021 3/22/2021      0           0         0           0          0       0    1   1
198 KXIN      8/6/2021   8/9/2021     0           1         1           0          0       0    1   0
199 KXIN     11/2/2021 11/2/2021      0           1         1           0          0       0    1   0
200 LEDS     2/13/2020 2/28/2020      1           0         0           0          0       0    0   0
201 LEDS     9/28/2020 9/28/2020      0           0         0           0          0       0    1   0
202 LEDS      2/9/2021 2/11/2021      0           1         1           0          0       1    1   0
203 LEDS      6/1/2021 6/24/2021      0           1         1           0          0       0    1   0
204 LEDS     8/30/2021   9/3/2021     0           0         0           0          0       0    1   0
205 LLIT     1/28/2021 3/12/2021      1           0         1           0          0       0    1   1
206 LLIT     4/20/2021 5/12/2021      1           1         1           0          0       1    1   1
207 LMFA     9/28/2020 9/30/2020      1           0         1           0          0       0    1   1
208 LMFA     12/1/2020 12/4/2020      0           0         1           0          0       0    0   1
209 LMFA      1/8/2021 1/15/2021      1           0         1           0          0       0    1   0
210 LMFA      7/8/2021   7/9/2021     1           1         1           0          0       0    1   0
211 LOTZ      6/8/2021   6/8/2021     1           0         1           1          0       0    0   0
212 MARPS     3/7/2022   3/7/2022     0           0         1           0          1       0    0   0
213 MDRR     3/11/2021 3/15/2021      0           1         1           1          0       1    0   1
214 MDRR      5/7/2021 5/13/2021      1           1         1           1          0       1    1   1
215 MDRR      6/8/2021 6/10/2021      0           1         1           0          0       0    0   1
216 METX    10/16/2020 10/16/2020     0           0         0           0          0       0    1   0
217 METX    12/17/2020 12/21/2020     1           0         0           0          0       0    1   1
218 METX      2/4/2021   2/5/2021     0           0         1           0          0       0    1   1
219 METX     3/12/2021 3/17/2021      1           1         1           0          0       0    0   1
220 METX     4/16/2021   5/4/2021     0           1         1           0          0       0    1   1
221 METX     9/29/2021 9/30/2021      0           0         0           0          0       0    1   0
222 METX    10/12/2021 10/29/2021     1           1         0           1          1       1    1   1
223 METX     11/5/2021 11/11/2021     1           1         1           1          1       1    1   0
224 METX     3/15/2022 3/15/2022      0           1         0           0          0       0    0   0
225 MFH     10/16/2020 10/21/2020     1           1         1           0          0       1    1   0
226 MFH      3/22/2021 3/23/2021      1           1         1           1          0       1    1   0
227 MGLD     3/10/2022 4/11/2022      1           0         0           0          1       0    0   1
228 MITQ     7/26/2021 7/26/2021      0           1         1           0          0       0    0   1
229 MKD       3/2/2022 3/29/2022      1           1         1           0          1       0    1   0
230 MTSL     6/19/2020 6/23/2020      1           0         1           1          0       0    1   0
231 MTSL     4/16/2021 4/16/2021      0           0         1           1          0       0    1   0
232 MTSL     6/29/2021 7/22/2021      0           1         1           0          0       0    1   1
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233 MULN    11/2/2021 11/12/2021      1          0         0           0          1        0    0   1
234 MYSZ   10/26/2021 11/2/2021       1          1         1           1          1        1    1   1
235 NAKD    7/24/2020 7/27/2020       0          0         1           1          0        0    1   1
236 NAKD    9/24/2020 9/25/2020       1          0         0           0          1        0    0   1
237 NAKD     1/4/2021 1/28/2021       1          1         1           0          1        0    1   1
238 NAKD     2/8/2021 2/12/2021       1          1         1           0          1        0    1   1
239 NAKD    3/24/2021 3/24/2021       0          0         0           0          1        0    1   1
240 NAKD    4/29/2021   5/4/2021      1          1         1           1          1        0    1   1
241 NAKD    9/24/2021 10/4/2021       0          1         1           0          0        0    1   1
242 NETE   10/13/2020 10/14/2020      1          0         1           0          0        0    1   1
243 NETE   11/13/2020 11/13/2020      1          0         0           0          0        0    0   0
244 NETE   11/16/2020 11/25/2020      1          0         1           0          1        1    1   1
245 NETE    2/10/2021 2/19/2021       1          1         1           0          0        1    1   0
246 NETE     4/6/2021   4/6/2021      0          0         0           0          0        0    1   0
247 NETE    8/20/2021 8/24/2021       0          0         1           0          0        0    0   0
248 NOVN     3/2/2021   3/2/2021      1          0         1           0          0        0    0   1
249 NOVN    5/13/2021 5/13/2021       0          0         1           0          0        0    0   1
250 NOVN    6/14/2021 6/14/2021       1          1         1           0          1        0    1   1
251 NTEC     2/2/2021   2/3/2021      1          1         1           0          0        0    1   1
252 NTEC    2/10/2021 2/10/2021       0          0         1           1          0        0    1   0
253 NTEC    5/10/2021 5/11/2021       0          1         0           0          0        1    1   1
254 NTRB    10/1/2021 10/12/2021      1          1         1           1          0        1    1   1
255 NXTD     7/2/2020   7/2/2020      0          0         0           0          0        0    1   0
256 NXTD    12/1/2020 2/19/2021       1          1         1           0          0        1    1   1
257 NXTD     3/9/2021 3/10/2021       0          1         1           0          0        1    1   0
258 NXTD    7/26/2021 7/27/2021       0          1         1           1          0        0    1   1
259 NXTD   10/29/2021 11/2/2021       1          1         1           1          0        0    1   1
260 NXTD   12/15/2021 12/15/2021      0          1         1           0          0        0    1   1
261 OBLN     9/3/2020   9/3/2020      0          0         0           0          0        0    0   1
262 OBLN    12/7/2020 12/7/2020       0          0         1           0          0        0    1   0
263 OBLN    1/20/2021 1/22/2021       0          0         1           0          0        0    0   0
264 OBLN    2/10/2021 2/10/2021       0          0         0           0          0        0    1   0
265 OBLN     3/5/2021   3/5/2021      0          0         0           0          0        0    0   1
266 OBLN    3/16/2021 3/16/2021       0          0         0           0          0        0    1   1
267 OBLN    5/10/2021 5/10/2021       0          0         1           0          0        0    1   1
268 OBLN    5/18/2021 5/24/2021       0          1         1           0          0        0    1   1
269 OGEN     7/9/2020 7/30/2020       0          0         1           0          0        0    1   1
270 OGEN    12/2/2020 12/7/2020       1          1         1           0          0        0    1   1
271 OGEN   12/22/2020 12/22/2020      0          0         0           0          0        0    1   0
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272 OGEN     1/5/2021   1/7/2021      1          0         1           0          0        0    1   0
273 OGEN     2/8/2021   2/8/2021      0          0         1           0          0        0    0   0
274 OGEN     3/9/2021   3/9/2021      0          1         1           0          0        0    0   0
275 OGEN    4/23/2021 4/26/2021       0          1         1           0          0        1    1   0
276 OGEN   12/20/2021 12/21/2021      0          0         0           0          1        0    0   0
277 ONTX    7/16/2020 8/26/2020       1          0         1           1          0        1    1   1
278 ONTX   11/30/2020 12/22/2020      0          0         1           0          0        0    1   1
279 ONTX     2/3/2021 3/19/2021       1          1         1           1          0        1    1   1
280 ONTX    5/18/2021 5/18/2021       0          0         1           0          0        0    0   0
281 OXBR     7/6/2020   7/7/2020      0          0         1           0          0        0    0   1
282 OXBR    7/15/2020 7/15/2020       0          0         1           0          0        0    0   1
283 OXBR    8/10/2020 8/11/2020       1          0         1           0          0        0    0   1
284 OXBR    9/25/2020 10/8/2020       1          1         1           0          1        0    1   1
285 OXBR   12/28/2020 12/29/2020      0          0         1           0          0        0    0   1
286 OXBR    1/14/2021 1/27/2021       1          1         1           0          1        0    1   1
287 OXBR    5/20/2021 6/17/2021       1          1         1           0          0        1    1   1
288 OXBR    7/16/2021 7/19/2021       0          0         0           0          0        0    0   1
289 PIXY    3/29/2022 3/29/2022       0          1         1           1          0        0    0   0
290 PPSI    6/12/2020 6/12/2020       1          0         0           0          0        0    1   0
291 PPSI    7/22/2020 7/22/2020       0          0         0           0          0        0    1   0
292 PPSI     8/4/2020   8/7/2020      0          0         0           0          0        0    1   0
293 PPSI    8/25/2020 8/26/2020       0          1         0           0          0        0    1   0
294 PPSI    9/23/2020 9/25/2020       0          0         0           0          1        0    1   0
295 PPSI    10/6/2020 10/9/2020       0          0         1           1          1        0    1   0
296 PPSI   11/23/2020 11/23/2020      0          0         1           0          0        0    0   0
297 PPSI    12/4/2020 12/4/2020       1          0         1           0          0        0    0   0
298 PPSI    1/12/2021 1/22/2021       1          0         1           0          0        0    1   1
299 PPSI     2/8/2021 2/16/2021       0          0         1           0          1        0    1   0
300 PPSI    11/8/2021 11/12/2021      0          1         1           1          0        0    1   0
301 PPSI   11/17/2021 11/17/2021      0          1         1           0          0        0    0   0
302 PPSI   12/21/2021 12/21/2021      0          1         1           0          0        0    0   0
303 PRFX    11/3/2020 11/4/2020       1          0         0           0          0        0    1   1
304 PRFX    7/13/2021 7/30/2021       0          1         1           0          0        0    1   1
305 REDU     4/8/2021   4/8/2021      0          0         0           0          0        0    1   0
306 REDU   10/15/2021 10/26/2021      0          1         1           0          1        1    1   1
307 RGLS    6/11/2020 7/30/2020       1          0         1           1          0        1    1   1
308 RGLS    3/11/2021 3/12/2021       0          1         1           1          0        1    1   1
309 RGLS     6/3/2021 6/10/2021       0          1         1           1          0        1    1   1
310 RHE     2/22/2021 2/22/2021       0          1         0           0          0        0    0   1
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311 RHE     4/28/2021 5/26/2021       1          1         1           0          0        0    1   1
312 RHE     8/30/2021 8/31/2021       0          1         1           0          0        0    1   1
313 RNAZ     7/9/2021 7/13/2021       0          1         1           0          0        0    1   1
314 RNXT   11/10/2021 11/10/2021      0          1         1           0          0        0    1   0
315 RNXT   11/30/2021 11/30/2021      0          1         1           0          0        0    0   0
316 SALM   10/21/2021 10/21/2021      0          1         1           1          0        0    1   0
317 SFET     8/6/2021   8/6/2021      0          1         1           0          0        0    1   0
318 SINO     2/8/2021 2/22/2021       1          1         1           0          0        1    1   0
319 SINO    3/17/2021 3/18/2021       1          1         1           1          0        1    1   1
320 SINO    4/20/2021 4/20/2021       0          1         1           0          0        0    1   1
321 SNDL   11/23/2020 12/3/2020       1          1         1           0          1        0    1   1
322 SNDL     1/6/2021 2/17/2021       1          1         1           1          1        1    1   1
323 SNDL     3/1/2021   3/2/2021      0          1         1           0          0        1    1   0
324 SNDL   10/21/2021 10/21/2021      0          1         1           1          0        0    0   0
325 SNOA     4/1/2021   4/1/2021      0          1         1           0          0        1    1   0
326 SNOA     5/3/2021   5/3/2021      0          1         1           0          0        1    1   1
327 SOS      1/6/2021   1/6/2021      0          0         0           0          0        0    0   1
328 SOS     1/27/2021 2/16/2021       1          0         1           0          0        0    1   1
329 SOS      8/9/2021 8/10/2021       0          1         0           0          0        0    0   0
330 STAF    5/10/2021 5/10/2021       0          1         0           0          0        1    1   0
331 STAF    6/30/2021   7/2/2021      1          1         1           0          0        1    1   1
332 STAF    7/20/2021 7/21/2021       0          1         1           0          0        0    1   1
333 SUPV    2/17/2021 2/21/2021       0          1         0           1          0        0    1   1
334 SURF     5/5/2021   6/3/2021      0          1         1           1          0        1    1   0
335 SURG    11/9/2021 11/9/2021       0          1         1           1          0        0    1   1
336 SXTC    6/18/2020   9/4/2020      1          0         1           1          1        1    1   1
337 SXTC    9/11/2020 9/14/2020       0          0         1           0          0        0    1   1
338 SXTC    7/16/2021 7/16/2021       0          1         1           1          0        1    1   1
339 SXTC    1/19/2022   3/1/2022      0          1         1           0          0        0    1   0
340 SYPR    8/11/2020 8/11/2020       0          0         0           0          0        0    1   1
341 SYPR    2/24/2021 2/24/2021       0          1         1           0          0        0    1   0
342 TGC     1/20/2021 2/25/2021       1          1         1           1          0        1    1   1
343 TMBR    7/31/2020 7/31/2020       0          0         0           1          0        0    1   0
344 TMBR    9/24/2020 10/21/2020      0          0         0           0          0        0    1   1
345 TMBR    12/9/2020 12/15/2020      0          0         0           0          0        0    1   1
346 TMBR    1/25/2021 1/27/2021       0          1         0           0          0        1    1   1
347 TMBR    3/11/2021 3/17/2021       0          1         1           0          0        1    1   1
348 TRCH    8/21/2020 8/24/2020       0          0         0           0          0        0    1   0
349 TRCH    9/21/2020 9/21/2020       0          0         0           0          0        0    0   1
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350 TRCH    2/10/2021 2/23/2021       1          1         1           1          0        1    1   1
351 TRCH    4/22/2021 4/28/2021       0          1         1           0          0        0    0   1
352 UPC     3/29/2021   4/1/2021      0          1         1           0          0        1    1   0
353 UPC     7/22/2021 7/23/2021       0          1         1           0          0        0    1   1
354 USEG     1/7/2020   1/8/2020      1          0         0           1          0        0    0   0
355 USEG    2/20/2020 2/21/2020       1          0         0           0          0        0    0   0
356 USEG    9/29/2020 9/30/2020       1          1         0           0          1        0    0   0
357 USEG    1/19/2021 1/28/2021       0          0         1           0          0        0    1   1
358 USEG     3/8/2021 3/10/2021       0          0         0           0          0        0    1   0
359 USEG     6/1/2021   6/2/2021      0          0         0           0          0        0    1   0
360 USEG    7/14/2021 7/14/2021       0          1         1           0          0        0    0   1
361 USEG     3/7/2022   3/7/2022      0          0         0           0          1        0    0   0
362 VISL     3/3/2020   3/4/2020      1          0         1           1          0        0    0   0
363 VISL    4/27/2020 4/30/2020       1          0         1           1          0        1    0   0
364 VISL     2/4/2021 3/30/2021       0          1         1           1          0        1    0   1
365 VRPX    3/26/2021 4/14/2021       0          1         1           0          0        1    1   1
366 VRPX     7/1/2021 7/15/2021       0          1         1           1          0        0    1   1
367 VRPX    8/10/2021 8/18/2021       0          1         1           0          0        0    1   0
368 VTVT    7/27/2020 7/29/2020       1          0         1           0          0        0    1   0
369 VTVT   10/29/2020 12/15/2020      1          1         1           1          1        1    1   1
370 VTVT     2/2/2021   2/8/2021      1          1         1           0          0        0    1   0
371 VTVT    2/22/2021 2/26/2021       0          1         1           0          0        0    1   1
372 VTVT    4/13/2021 4/13/2021       0          1         1           0          0        1    0   0
373 WAFU    7/30/2020 7/30/2020       0          0         1           1          0        0    0   0
374 WAFU    1/27/2021   2/8/2021      1          1         1           0          0        0    1   1
375 WAFU    3/26/2021 3/31/2021       0          0         1           0          0        0    1   0
376 WAFU    4/19/2021 4/19/2021       0          0         0           0          0        0    1   0
377 WORX    8/25/2020 8/26/2020       0          0         0           0          0        0    0   1
378 WORX     9/4/2020   9/8/2020      0          0         0           0          0        0    1   0
379 WORX    9/16/2020 9/23/2020       0          0         1           0          0        1    1   1
380 WORX     7/9/2021 7/13/2021       0          1         1           0          0        0    1   1
381 WORX    7/30/2021 7/30/2021       0          0         0           0          0        0    1   0
382 WORX     8/4/2021   8/9/2021      0          1         1           0          0        0    1   0
383 WPG      6/1/2021   6/9/2021      1          1         1           0          0        1    1   1
384 WPG      9/1/2021   9/1/2021      1          0         0           0          0        0    0   1
385 WWR     8/20/2020 8/21/2020       1          0         1           0          0        0    1   1
386 WWR     9/14/2020 9/15/2020       0          0         0           0          0        0    1   0
387 WWR     9/25/2020 10/6/2020       1          1         1           0          1        0    1   0
388 WWR    10/20/2020 10/21/2020      0          0         0           0          0        0    1   0
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389 WWR    10/26/2020 10/26/2020      0          0         1           0          0        0    1   0
390 WWR     11/2/2020 11/23/2020      0          0         1           0          1        1    1   0
391 WWR      1/6/2021 1/26/2021       1          1         1           1          1        1    1   0
392 WWR      2/5/2021 2/19/2021       0          1         1           0          0        1    1   0
393 WWR     3/12/2021 3/25/2021       0          1         1           1          0        1    0   1
394 WWR     3/30/2022   4/8/2022      0          0         0           1          1        0    1   0
395 XRTX    11/3/2021 11/4/2021       1          1         1           1          1        1    1   1
396 YVR      6/4/2020   6/4/2020      0          0         1           0          0        0    0   0
397 YVR     7/30/2020 7/30/2020       0          0         0           0          0        0    0   1
398 YVR     3/12/2021 3/31/2021       1          1         1           1          0        0    1   1
399 YVR     7/15/2021 7/16/2021       0          1         1           0          0        0    1   1
400 YVR      9/2/2021   9/3/2021      0          1         1           0          0        0    1   0
401 ZSAN    3/21/2022   4/5/2022      1          1         0           1          0        1    0   0
402 ZYNE     2/2/2021 2/23/2021       1          1         1           0          0        1    1   1
